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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


DAWN M. SAMPSON,
                                              CIVIL COMPLAINT
             Plaintiff,

v.                                            CASE NO. 3:19-cv-02683

AMERICAN ELITE RECOVERY,
LLC and LAW FIRM OF KARL                      DEMAND FOR JURY TRIAL
FRANKOVITCH, LLC,

             Defendants.


                                   COMPLAINT

        NOW comes DAWN M. SAMPSON (“Plaintiff”), by and through her

attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct

of AMERICAN ELITE RECOVERY, LLC (“AER”), and LAW FIRM OF KARL

FRANKOVITCH, LLC (“Frankovitch”) (collectively, “Defendants”), as follows:

                              NATURE OF THE ACTION

     1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection

Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq., as well as common law

fraudulent misrepresentation, for Defendants’ unlawful conduct.

                             JURISDICTION AND VENUE




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   2. This action arises under and is brought pursuant to the FDCPA. Subject

matter jurisdiction is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C.

§§1331 and 1337, as the action arises under the laws of the United States.

Supplemental jurisdiction exists for the state law claim pursuant to 28 U.S.C. §1367

because it arises out of a common nucleus of operative facts as Plaintiff’s federal

question claims.

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

conducts business in the Northern District of Florida a substantial portion of the

events or omissions giving rise to the claims occurred within the Northern District

of Florida.

                                      PARTIES

   4. Plaintiff is a consumer over 18 years-of-age residing in Cantonment, Florida,

which is within the Northern District of Florida.

   5. Plaintiff is a “person,” as defined by 47 U.S.C. §153(39).

   6. AER is a debt collection agency operating out of New York. AER is a limited

liability company organized under the laws of the state of New York with its

principal place of business located at 1561 Kenmore Avenue, Kenmore, New York.

   7. Frankovitch is a law firm who regularly attempts to collect consumer debts

from consumers across the country, including the state of Florida. Frankovitch is a

professional service limited liability company organized under the laws of the state


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of New York with its principal place of business located at 904 Center Street,

Lewiston, New York.

   8. Defendants are “person[s]” as defined by 47 U.S.C. §153(39).

   9. Defendants acted through their agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives and insurers at all times relevant to the instant action.

                      FACTS SUPPORTING CAUSES OF ACTION

   10. The instant actions stems from Defendants’ attempts to collect upon past due

payments (“subject debt”) Plaintiff purportedly owes in connection with a personal

installment loan she incurred from spotloan.com (“Spotloan”).

   11. On July 10, 2019, Plaintiff received a phone call from the phone number

(855) 764-8941.

   12. Plaintiff did not answer the call, and a voicemail message was left.

   13. The caller identified themselves as “David Hampton” working with the “legal

department” for AER.

   14. After outlining Plaintiff’s last four of her social security number and

providing Plaintiff’s date of birth, the voicemail message began making a series of

egregious misrepresentations and unlawful threats about the nature of the subject

debt and Defendants’ efforts to go about collecting the debt.




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   15. AER’s employee falsely identified that AER “works for” the Santa Rose

County Courthouse.

   16. Plaintiff was informed that, unless she called AER by 2:00 p.m. EST that

day, Plaintiff will face criminal charges in Santa Rose County Court in connection

with purported “fraud” relating to the subject debt.

   17. AER then advised that they were working with the sheriff’s department on

detaining Plaintiff so that she could be brought back to Santa Rosa County to answer

her charges.

   18. AER further specified and accused Plaintiff of committing check fraud in

connection with the subject debt.

   19. AER went on to state that Plaintiff would be served with court papers at her

place of employment – and that AER knew where she worked.

   20. AER confirmed it knew where she worked by correctly identifying her

current employer – even providing the address where she worked.

   21. AER further threatened to put a boot on Plaintiff’s car – specifically

identifying the car make, model, and color when making this baseless threat.

   22. AER went on to state that if a boot was not placed, at the very least a lien

against the vehicle would be sought, as well as a lien on any other property.

   23. AER then advised that if Plaintiff did not call them to work something out,

she was looking at criminal charges and fines, including $3,000 for the “bad checks,”


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another $3,000 for “internet fraud,” $2,200 in additional “fees,” and a “forcible

recovery” of property.

   24. AER then said that, in order to avoid facing criminal charges and around

$10,000 in “criminal fines,” Plaintiff had to contact AER that day.

   25. AER provided Plaintiff a “docket number” that she had to provide when

calling back so that AER could identify the account.

   26. Signing off, AER’s representative advised that the “easiest way” to avoid the

criminal actions was to call and work something out.

   27. After hearing AER’s voicemail and fearing that she was being actively

sought for criminal charges and fines in connection with the subject debt, Plaintiff

returned AER’s call and spoke with Mr. Hampton.

   28. When Plaintiff spoke with Mr. Hampton, he began berating and yelling at

her, further reiterating many of the false and baseless threats contained in the

voicemail Plaintiff received.

   29. Fearing for her personal and financial well being, Plaintiff agreed to make a

$1,500.00 payment to stop the threatened criminal prosecution and settle the debt in

full.

   30. Plaintiff was then transferred to an individual who accepted Plaintiff’s

payment.




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   31. After making payment, Plaintiff was transferred to Mr. Hampton’s

supervisor, Nicole Shapiro, so that Plaintiff could express her displeasure with Mr.

Hampton’s demeanor.

   32. Ms. Shapiro then listened to the recording of the conversation and apologized

to Plaintiff for Mr. Hampton’s behavior, further telling Plaintiff that Mr. Hampton

would be fired.

   33. However, Plaintiff later realized that Mr. Hampton was not fired.

   34. After getting off the call with AER, Plaintiff received an email from AER

and a letter from AER advising that the subject debt had been settled in full.

   35. Wanting to ensure that the situation was dealt with, Plaintiff did some

digging, and realized that AER is not associated with Santa Rosa County Court, that

she was not the active target of any criminal investigation, and that AER had made

numerous egregious misstatements in violation of numerous laws.

   36. Plaintiff attempted to stop the $1,500 payment she made to AER; however,

the payment had already posted by the time Plaintiff realized she had been

defrauded.

   37. Through her attempts to stop payment, Plaintiff realized that the $1,500

payment was taken out of her account by Frankovitch.

   38. As such, AER and Frankovitch worked in concert to defraud Plaintiff.




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   39. Frustrated, confused, upset, and distraught over Defendants’ conduct,

Plaintiff spoke with Sulaiman regarding her rights, resulting in expenses.

   40. Plaintiff has been unfairly and unnecessarily harassed, abused, misled, and

defrauded by Defendants’ actions.

   41. Plaintiff has suffered concrete harm as a result of Defendant’s actions,

including but not limited to, pecuniary loss stemming from relying on Defendants’

misrepresentations, invasion of privacy, anxiety, fear that she was the target of an

active criminal investigation, concern that her employment would be impacted by

the subject debt, and undue and significant emotional distress.

    COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   42. Plaintiff repeats and realleges paragraphs 1 through 41 as though fully set

forth herein.

   43. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   44. AER is a “debt collector” as defined by § 1692a(6) of the FDCPA because it

regularly collects or attempts to collect, directly or indirectly, debts owed or due or

asserted to be owed or due another. It is further a debt collector because it is a

business the principal purpose of which is the collection of debts. AER identified

itself as a debt collector in the written communication it sent to Plaintiff confirming

her payment, further illustrating that it is a debt collector.




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   45. Frankovitch is a “debt collector” under § 1692a(6) because, much like AER,

it regularly collects or attempts to collect, directly or indirectly, debts owed or due

or asserted to be owed or due another. Frankovitch’s role of accepting the payment

illustrates the connectedness between it and AER such that both are liable under the

FDCPA.

   46. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it is an

obligation or alleged obligation arising out of a transaction due or asserted to be

owed or due to another for personal, family, or household purposes.

      a. Violations of FDCPA §1692d

   47. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from

engaging “in any conduct the natural consequence of which is to harass, oppress, or

abuse any person in connection with the collection of a debt.”

   48. Defendants violated §1692d through the series of harassing, oppressive, and

abusive threats made against Plaintiff. Such threats had the natural consequence of,

and actually did, harass, oppress, and abuse Plaintiff as Plaintiff was unduly

frightened into believing she would be subject to criminal prosecution, fines, seizure

of property, etc. in the event she did not make payment.

       b. Violations of FDCPA § 1692e




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   49. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from

using “any false, deceptive, or misleading representation or means in connection

with the collection of any debt.”

   50. In addition, this section enumerates specific violations, such as:

         “The false representation or implication that the debt collector
         is vouched for, bonded by, or affiliated with the United States or
         any State . . . .” 15 U.S.C. § 1692e(1);

         “The false representation of – the character, amount, or legal
         status of any debt;” 15 U.S.C. § 1692e(2)(A);

         “The false representation that any individual is an attorney or
         that any communication is from an attorney;” 15 U.S.C. §
         1692e(3);

         “The representation or implication that any debt will result in
         the arrest or imprisonment of any person or the seizure,
         garnishment, attachment, or sale of any property or wages of any
         person unless such action is lawful and the debt collector or
         creditor intends to take such action.” 15 U.S.C. § 1692e(4);

         “The threat to take any action that cannot legally be taken or that
         is not intended to be taken.” 15 U.S.C. § 1692e(5);

         “The false representation or implication that the consumer
         committed any crime or other conduct in order to disgrace the
         consumer.” 15 U.S.C. § 1692e(7);

         “The use of any false representation or deceptive means to
         collect or attempt to collect any debt or to obtain information
         concerning a consumer.” 15 U.S.C. §1692e(10).

   51. Through Defendant’s conduct, each of the above referenced provisions was

violated in numerous ways.


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   52. Defendants violated §§ 1692e, e(1), e(3), and e(10) through the

representations that Defendants were working for the Santa Rosa County

Courthouse. This was a demonstrably false representation as Defendants do not work

for nor have any affiliation with the Santa Rosa County Courthouse.

   53. Defendants violated §§ 1692e, e(2)(A), e(4), e(5), e(7), and e(10) through the

numerous representations regarding criminal prosecution, criminal charges, criminal

fines, being detained, arrested, served with court papers, having property seized, etc.

that Plaintiff experienced in the voicemail message left by Defendants. Although

Plaintiff initially thought Defendants were being truthful, thus prompting her

payment, subsequent research revealed the gross falsity of Defendants’ statements.

Defendants’ false statements caused Plaintiff direct pecuniary loss given the

payment she made as a result of Defendants’ misrepresentations.

   54. Defendants further violated §§ 1692e and e(10) through the false

representation that Mr. Hampton would be fired. This was a deceptive statement

made to curry favor with Plaintiff, lest Plaintiff be more upset about the fraud that

had been perpetuated against her.

       c. Violations of FDCPA § 1692f

   55. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from

using “unfair or unconscionable means to collect or attempt to collect any debt.”




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   56. Defendants violated §1692f when they unfairly and unconscionably attempted

to collect on a debt, and accepted Plaintiff’s payment, by repeatedly and falsely

threatening Plaintiff with criminal prosecution, fines, arrest, property seizure, etc.

Defendants’ representations are demonstrably false and constitute unfair and

unconscionable debt collection conduct which significantly harmed Plaintiff.

   57. As pled in paragraphs 39 through 41, Plaintiff has been harmed and suffered

damages as a result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, DAWN M. SAMPSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15
      U.S.C. §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
      provided under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
      U.S.C. §1692k(a)(3);

   e. Enjoining Defendant from further contacting Plaintiff seeking payment of
      the subject debt; and

   f. Awarding any other relief as this Honorable Court deems just and
      appropriate.

                 COUNT II – FRAUDULENT MISREPRESENTATION




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   58. Plaintiff repeats and realleges paragraphs 1 through 41 as though fully set

forth herein.

   59. Under Florida law, the elements for common law claims of fraudulent

misrepresentation are: (1) a false statement of material fact; (2) defendant’s

knowledge that the statement was false; (3) defendant’s intent that the statement

induce plaintiff to act; (4) plaintiff’s reliance upon the truth of the statement; and (5)

plaintiff’s damages from reliance on the statement.

   60. Defendants, acting in concert, made numerous false statements of material

fact regarding the subject debt. Defendants falsely stated that Plaintiff would, inter

alia, be arrested, detained and transported for court, charged with crimes, be served

papers at her work, have property seized, have to pay almost $10,000, etc..

Defendants further falsely represented the nature of their identity, the entities with

whom they were associated, and their overall abilities and rights to collect the subject

debt. Such conduct exemplifies several false statements of material fact given such

statements were made in the context of Defendants’ debt collection efforts.

   61. Further, Defendants knew these statements to be false. Given the nature of

the representations, it is clear that they were made with knowledge of their falsity.

Defendants did not innocently believe that Plaintiff was a target of any criminal

investigation – as this was demonstrably false and Defendants would have no basis

for making the statements. Instead, Defendants’ false statements were made


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knowingly in order to advance Defendants’ goal of defrauding Plaintiff out of

money.

   62. Additionally, the nature of Defendants’ conduct illustrates their intent that

Plaintiff rely on the false statements. The nature of the false statements themselves

illustrates their intent that Plaintiff rely – as Defendants knew that threatening a

debtor with criminal prosecution would induce such debtor to act in order to avoid

such a significant consequence. In addition to the false statements themselves,

Defendants ensured that – within their web of lies – some truthful information (e.g.,

Plaintiff’s SSN and DOB, where she works, what kind of car she drives, etc.) was

specifically mentioned. This inclusion illustrates the extent to which Defendants

intended Plaintiff to rely on their false statements – as their use of truthful

information (truthful information that Plaintiff would realize indicated an amount of

legitimacy on Defendants’ part) was designed to assure Plaintiff that its

representations were truthful, even though they were not.

   63. Finally, Plaintiff relied upon Defendants’ conduct and suffered damages as a

result of her reliance of Defendants’ conduct. Based solely upon Defendants’ false

statements, Plaintiff made payment of $1,500. Because Plaintiff would not have

made this payment without Defendants’ misrepresentations, her reliance caused her

damages.




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   WHEREFORE, Plaintiff, DAWN M. SAMPSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Awarding Plaintiff actual damages against Defendants stemming from her
      reliance on their false statements; and,

   b. Awarding Plaintiff punitive damages to address the egregious nature of
      Defendants’ conduct and to deter similar future conduct; and,

   c. Awarding any other relief as this Honorable Court deems just and
      appropriate.



   Dated: July 26, 2019                           Respectfully Submitted,

                                                  /s/ Alexander J. Taylor
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